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                            IN TH E UNITED STATES D ISTR ICT CO URT
                           FOR TH E SOU TH ERN DISTRIC T O F FL OR IDA

                             CaseNo.10-CV-80737-HURLEY/HOPKINS
        (Consolidatedwith CaseNo.10-CV-80738-Ht1RLEY/HOPM NS fortheReceivership)
      UNITED STATES SECU M TIES AN D
      EX CHAN GE CO M M ISSION ,
      Plaintifr,



      TRADE-LLC,eta1.,
      Defendants,



      BD LLC,etal,,
      ReliefD efendants.

  '
      UUMM ODITY FUTURES TRADING
      COM M ISSION ,
      Plaintiff,



      TRADE-LLP,eta1.,
      Defendants,

      BD LLC ,eta1.,
      ReliefDefendants.
                                                  /
       ORDER GM NTING RECEIVEW SM OTION FOR ATTORNEYS'FEES AND COSTS

             THIS CAUSE isbeforethecourtuponthefifth motion ofReceiverJeffrey C.Sclmeider

      and Levine Kellogg Lelunan Schneider + Grossman LLP (the Estzaw Firm'') for interim
      compensation to pay attom eys'fees and costsincurred during theperiod ofJune 1,2011 through

      A
        ugust31,2011 (DE # 1482.1 The Securities and Exchange Com m ission has reviewed the
      instantmotionandattachedbillingrecords,andhasnoobjediontotherequest.

       1 On October 13 2010 the courtgranted the Receiver's and the Law Firm 's first m otion for
       interim com pensat#ion of#fees and costs forthe period ofJune 23 2010 to August31,2010. See
       DE # 50.On January 4,2011,the courtgranted theirsecond m ot1    l.
                                                                        on for interim compensation of
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          This case involves an alleged Ponzi scheme thatdefrauded investors out of over $28
   million. The courtappointed M r.SchneidermsReceiver to initiate litigation on behalfofthe

   Receivership Entities to preserve and m aintain their assets for the benefit of investors and

   creditors.Aherappointment,theReceiverretained theLaw Firm toprovide legalservictstothe

   Receivership Estate. Am ong other things,the Receiver and the Law Firm have secured funds

   derived from investors,have settled severaldisputeswith receivership targets,have sold several

   receivership properties,have created a ProofofClaim form,have mailed over 1,500 Proofof

   Claim forms to potentialclaimants,have analyzed the submitted Proof of Claim forms,havt

   moved for a distribution procedure and objection procedure,and have moved for a srst
   distribution.

          Asinterim compensation fortheirefforts,the Receiverrequests$6,786.00 in feesandthe
   Law Firm requests$167,900.00 in feesand $4,140.71 in costs. A receiverwho çtreasonably and
   diligently dischargeshisduties''isentitled to compensation. SeeSEC v.Elliot,953 F.2d 1560,

   1577 (11tb cir. 1992). SçW hether a receiver merits a fee is based on the circumstances
   surrounding the receivership,and results are alwaysrelevant'' 1d.(citationsand quotations
   omitted).2


   fees and costs forthe period of September 1,2010 to November30,2010. See DE # s0. 0n
   M ay 31,2011,thecourtgrantedtheirthird motion forinttrim compensation offeesand costsfor
   1heperiod ofDecember 1,2010 tk ough Februmy 28,2011,SeeDE # 114. On Septem ber 16,
   2011, the court granted the Receiver's and the Law Firm's fourth motion for interim
   compensation offeesand costsfortheperiodofM arch 1,2011throughM ay 31,2011.SeeDE #
   135.

      Other relevantfactors,which the courthas considered,include: (1) the time and labor
   required;(2)thenoveltyanddifûcultyofthelegalquestions;(3)theskillrequiredtoperform the
   legalservicesproperly;(4)thepreclusionofotheremploymenlbytheattorneyduetoacceptanct
   ofthecase;(5)thecustomag feeforsimilr workinthecommunitj;(6)whdherthefeeisfixed
   orcontingent;(7)timelimltationsimposed by the clientortheclrcumstances;(8)theamotmt
   involved andtheresultsobtained;(9)theexperience,reputation,andabilityoftheattonwy;(10)
   thetmder-dtsirabilityofthecase;(11)thenatureandlengthoftheprofessionalrelationshipwith
   theclient;and(12)awardsin similr cases.SeeJohnsonv.GeorgiaHighwayExpress,Aa,488
   F.2d714(5thCir.1974).
                                                 2
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           The courthas cr efully review ed the Receiver'sand Law Firm 's effortsin thiscast and is

   well-satisfed with the quality and diligence of their work as wellas the rtsults they have

   achieved thusfar.Accordingly,itishereby ORDEQED andADJUDGED that:
         1. Themotion ofReceiverJeffrey C.SchneiderandLevineKelloggLehm an Schneider+

   GrossmmzLLP for interim compensation to pay attorneys'fees and costsincurred duzing the

   periodofJtme1,2011tkoughAugust31,2011(DE #148)isGRANTED.
           TheReceiverisauthorizedand directedtopay,from theassetsoftheReceivership

   Estate,atotalof$178,826.71(one hundred seventy eightthousand eighthtmdred twtnty six
      dollarsandseventyonecents)topayforthefeesandcostsidentifedintheinstantmotion.
            DONE and SIGNED in ChembersatW estPalm Beach,Florida,this# day of
  '



              *     ;   2011.
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                                                                      .


                                                           D anielT.K.Hurley
                                                           U nited StatesD istri Judge

      Copiesprovidedtocounselofrecord




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